    Case 19-00101-5-SWH                  Doc 22 Filed 03/25/19 Entered 03/25/19 08:50:28              Page 1 of 1
VAN−099 Order Continuing Confirmation Hearing − Rev. 03/12/2019

                             UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF NORTH CAROLINA
                                                        Wilmington Division

IN RE:
Elizabeth R McCorkle                                              CASE NO.: 19−00101−5−SWH
( debtor has no known aliases )
240 Hibiscus Way                                                  DATE FILED: January 10, 2019
Wilmington, NC 28412
                                                                  CHAPTER: 13




                                    ORDER CONTINUING CONFIRMATION HEARING

IT IS ORDERED that the hearing on confirmation is continued.

DATE:          Wednesday, April 17, 2019
TIME:          10:30 AM
PLACE:         New Hanover County Public Library, 1241−A Military Cutoff Rd, Oleander Room, Wilmington,
               NC 28405



The movant must transmit a copy of this order to all creditors, and a certificate of service must be filed
with the court within three (3) days evidencing service.



DATED: March 25, 2019

                                                                     Stephani W. Humrickhouse
                                                                     United States Bankruptcy Judge
